Case 8:21-cv-02429-SDM-TGW Document 142 Filed 03/24/22 Page 1 of 10 PageID 9324




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

  NAVY SEAL # 1, et al.,

                             Plaintiffs,
                                                        Case No. 8:21-cv-02429-SDM-TGW
        v.

  JOSEPH R. BIDEN, JR., in his official
  capacity as President of the United States, et al.,

                             Defendants.

             DEFENDANTS’ PARTIAL RESPONSE TO PLAINTIFFS’
               EMERGENCY MOTION FOR 22 MOVANTS AND
                NOTICE OF INTENT TO RESPOND FURTHER


                                    INTRODUCTION

        Although there is a pending motion for class certification and a pending

  motion for a class-wide preliminary injunction in this action, neither motion has

  been granted. Plaintiffs have now filed yet another emergency motion for immediate

  relief on behalf of one Plaintiff and 21 non-Plaintiffs. Defendants are investigating

  the claims, but it is plain that the emergency motion lacks merit, contains factual and

  legal error, and is wholly unnecessary.

        First, Defendants hereby notify the Court that they intend to respond further

  to the allegations of the included Plaintiff (identified as COLONEL FINANCIAL

  MANAGEMENT OFFICER in the current Complaint and referred to herein as

  Colonel FMO) on an ordinary motions schedule. As set forth in more detail below,


                                              1
Case 8:21-cv-02429-SDM-TGW Document 142 Filed 03/24/22 Page 2 of 10 PageID 9325




  separation proceedings with respect to Colonel FMO have not even commenced,

  and Plaintiffs mischaracterize the process and next steps.

        Second, the Court should not consider emergency relief for anonymous non-

  plaintiffs. There is no certified class in this matter, and Plaintiffs have not sought

  leave to add new parties. Accordingly, they are not entitled to any relief.

                           PROCEDURAL BACKGROUND

        The procedural background of this matter is largely set forth in prior filings

  and orders. See ECF Nos. 66, 67, 74, 118. Of note here, Defendants filed an

  opposition to Plaintiffs’ motion for a temporary restraining order and preliminary

  injunction on November 3, 2021, ECF No. 23; opposed class certification on

  December 3, 2021, ECF No. 42; opposed a temporary restraining order on February

  2, 2022, ECF No. 66; and opposed Plaintiffs’ renewed motion for a preliminary

  injunction on February 4, 2022, ECF No. 74. The Court entered a temporary

  restraining order with respect to two Plaintiffs in this action and later entered a

  preliminary injunction as to the same two Plaintiffs. ECF Nos. 67, 111. Defendants

  moved for an emergency stay of the Court’s preliminary injunction order as to those

  two Plaintiffs on February 28, 2022. ECF No. 118. Defendants separately opposed

  one additional motion for a temporary restraining order on behalf of one plaintiff on

  March 11, 2022, ECF No. 132, and has opposed two separate motions brought on

  behalf of a non-party, ECF Nos. 117, 140. Defendants have also moved to dismiss

  this action and to sever certain claims. ECF Nos. 139. Defendants incorporate by



                                              2
Case 8:21-cv-02429-SDM-TGW Document 142 Filed 03/24/22 Page 3 of 10 PageID 9326




  reference all arguments and declarations submitted in connection with those motions

  to this brief.

         On March 23, 2022, at approximately 3:30 pm, Plaintiffs’ counsel contacted

  defense counsel to request immediate relief for one plaintiff and 21 newly identified

  non-parties, and demanded a response by 5 p.m. Despite being asked for more time,

  Plaintiffs filed the emergency motion at 8 p.m. It is hard to see how providing

  defendants part of an afternoon to investigate the status and allegations of 22

  individuals constitutes “best efforts to obtain temporary relief outside of seeking

  additional intervention from this Court,” see Pls.’ Br. at 11, or even a conferral in

  good faith, see Order, ECF No. 9, at 5 (requiring good faith conferral). The Court

  may deny a motion without prejudice absent a good faith effort to meet and confer.

                                      DISCUSSION

         I.        Plaintiffs’ Motion Misrepresents that Colonel FMO Faces Imminent
                   Harm, and Defendants Will File a Response.

         Plaintiffs’ motion represents that Colonel FMO “has been informed that he

  will receive his administrative separation orders on Friday, March 25, 2022.” Pls.’

  Br. at 3. This is incorrect, and undersigned counsel has been informed that Colonel

  FMO will not receive separation orders on March 25. With the benefit of a few

  hours to investigate the allegation, it appears that separation proceedings have not

  even been initiated with respect with Colonel FMO. Rather, when the Marine Corps

  denied his religious exemption appeal in December, see ECF No. 141-4, at 18-21, he

  sought a medical exemption. See ECF No. 141-4, at 22 (explaining his temporary

                                              3
Case 8:21-cv-02429-SDM-TGW Document 142 Filed 03/24/22 Page 4 of 10 PageID 9327




  medical exemption and his medical appointment for March 24, 2022). In other

  words, it appears that Colonel FMO currently has a temporary medical exemption

  that may expire soon.

        If Colonel FMO’s medical exemption expires, he will likely thereafter receive

  an order to be vaccinated, in accordance with the Marine Corps procedures

  described in the Declaration of Lieutenant General David Furness, ECF No. 23-19.

  If he refuses the order, separation processing may commence in accordance with

  those same procedures. Given his years of service, he is entitled to a Board of

  Inquiry in which he will be represented by counsel and can submit testimony and

  evidence regarding why he is not in violation of a lawful order and why he should be

  retained. If the board finds no basis for separation or finds a basis for separation and

  recommends this officer be retained, that finding or recommendation is binding on

  the Secretary. Even if the Board ultimately determines that discharge is appropriate,

  separation orders likely would not issue for many months. See Furness Decl. ¶¶ 14-

  23. In other words, Plaintiffs’ assertion that there is a need for emergency injunctive

  relief is unfounded, and minimal due diligence by competent counsel (including

  adequate conferral with the Government) would have confirmed that Colonel FMO

  is not about to receive “separation orders” on Friday.

        In addition, Defendants have now had the benefit of half a day to investigate

  the matter, and hereby notify the Court that Defendants are also willing to ensure

  that if Colonel FMO does not receive a medical exemption as requested, he will have

  three weeks from Friday (up through and including April 15) to begin a vaccination
                                             4
Case 8:21-cv-02429-SDM-TGW Document 142 Filed 03/24/22 Page 5 of 10 PageID 9328




  series. That should permit the Court time to decide a motion for emergency relief on

  the briefs. Unless the Court sets a different schedule, Defendants currently intend to

  file a full response on or before April 6, 2022 (the normal schedule for responding to

  motions under the local rules).

         Because Plaintiff’s compliance deadline will not be until April 15, there is no

  danger of imminent separation or other discipline. Moreover, even if such processes

  were to be initiated following expiration of Plaintiff’s new compliance date, the

  process typically takes many months. See Furness Decl. ¶¶ 14-23. Accordingly, there

  is no threat of imminent or irreparable harm to Plaintiff, which Plaintiff must

  establish to be entitled to an immediate restraining order or that would necessitate a

  more truncated briefing schedule than Defendants propose.

         II.    Non-Parties Are Not Entitled to Emergency Relief.

         The non-parties are not entitled to relief because (1) they are non-parties; (2)

  anonymous allegations are insufficient to satisfy their burden; and (3) they cannot

  meet the exacting standard for emergency relief.

         First, the 21 nonparty movants are not entitled to relief because an individual

  who has not yet been added as a party to the case is not entitled to emergency relief.

  See Piambino v. Bailey, 757 F.2d 1112, 1137 n.62 (11th Cir. 1985) (stating that a non-

  party could not seek an injunction); Jones v. Arnold, No. 3:09-CV-1170-J-34JRK, 2010

  WL 11507773, at *1 (M.D. Fla. May 7, 2010) (“An unnamed ‘class member’ in an

  uncertified class . . . is not a party to this case and lacks standing here to seek the

  relief requested in the Motion for Preliminary Injunction”). Putative class members
                                               5
Case 8:21-cv-02429-SDM-TGW Document 142 Filed 03/24/22 Page 6 of 10 PageID 9329




  become parties to an action—and thus subject to the Court’s jurisdiction—only after

  class certification. See In re Bayshore Ford Trucks Sales, Inc., 471 F.3d 1233, 1245 (11th

  Cir. 2006); cf. Molock v. Whole Foods Mkt. Grp., Inc., 952 F.3d 293, (D.C. Cir. 2020)

  (refusing to dismiss or otherwise exercise jurisdiction over claims of putative class

  members).

         The non-party movants are not parties who can seek relief; Plaintiffs have not

  sought leave to join them or amend the Complaint. And because the Court has not

  certified a class (and should not), the movants are also not class members who could

  be entitled to relief. The Court is not permitted, much less required, to exercise its

  equitable powers under these circumstances. Indeed, to do so would invite TRO

  motions in this Court from any of the over 21,000 service members that Plaintiffs

  claim are entitled to religious accommodation with respect to the COVID-19

  vaccination. See ECF No. 51, at 3. This appears to be a transparent attempt to flood

  the court with purported emergencies and make it seem as though class certification

  is necessary:




                                              6
Case 8:21-cv-02429-SDM-TGW Document 142 Filed 03/24/22 Page 7 of 10 PageID 9330




  Tweet, https://twitter.com/libertycounsel/status/1507006274361184270. In these

  circumstances, the Court should order Plaintiffs’ counsel to cease filing motions for

  emergency relief on behalf of non-parties.

        If the Court ultimately determines that class certification is appropriate, and if

  these movants fall within that class, then they may attempt to make a showing that

  they are entitled to emergency relief based on a full airing and briefing of the issues.

  In the alternative, Plaintiffs may move to amend their complaint, and Defendants

  will respond to such a motion within the time allotted under the Federal Rules. See

  FRCP 15(a)(3). Today, because Plaintiffs have not adhered to the requirements of

  the Federal Rules, the Court should deny the motion.

        Second, the non-party movants are anonymous at this time and thus cannot

  proceed in this matter at all, much less make an evidentiary showing for

  extraordinary relief. The motion is purportedly “verified” with the electronic

  signatures of pseudonymous non-party movants, who have not separately submitted

  even anonymous affidavits as to specific facts. The movants have not alleged that

  any individual movant wishes to keep his or her identity private, nor have they filed

  a motion to proceed anonymously or sought a protective order to keep their names

  under seal. See Doe v. Frank, 951 F.2d 320, 323–24 (11th Cir. 1992) (“Lawsuits are

  public events,” and courts permit plaintiffs to use fictitious names only in

  “exceptional cases.”). (The existing protective order does not cover non-parties

  wishing to proceed under a pseudonym. See ECF No. 59-1.) The other non-party

  movant in this matter has been willing to proceed under his own name, see ECF No.
                                               7
Case 8:21-cv-02429-SDM-TGW Document 142 Filed 03/24/22 Page 8 of 10 PageID 9331




  93, and there is no reason to assume that each of these movants disagrees. By relying

  on anonymous claims, Plaintiffs cannot “meet [their] high burden to obtain a

  preliminary injunction,” and the Court can deny the non-parties’ motion on this

  basis alone. See KeyView Labs, Inc. v. Barger, 2020 WL 8224618, at *6, *13 (M.D. Fla.

  Dec. 22, 2020), report & recommendation adopted, 2021 WL 510295 (Feb. 11, 2021)

  (anonymous declaration insufficient to show a likelihood of success on the merits

  and irreparable harm, as the declaration “lack[s] probative value”) (citations

  omitted).

         Finally, the movants have not made the extraordinary showing required for

  emergency relief. Movants cannot show a likelihood of success on their religious

  freedom claims because they have not exhausted their intra-service remedies,

  because they make non-justiciable claims about assignments, and because they

  cannot establish en masse or individually that the Government lacks a compelling

  interest in their vaccination or that less restrictive means would equally serve the

  Government’s interest in military readiness. See generally ECF Nos. 23, 42, 66, 74,

  117, 118, 139, 140. 1 For the reasons previously explained, none of the non-party

  movants have shown a likelihood of imminent irreparable harm because they can be

  made whole in the future, and the balance of any harms tips sharply in the




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    Defendants have not had time to track down the status of each of the non-party movants, but it
  seems likely that there are additional errors in the motion. For example, undersigned counsel has
  been informed that at least one of the movants, HOSPITAL CORPSMAN FIRST CLASS, has
  received a vaccine. The motion also appears to mischaracterize the separation and discipline
  procedures previously described to the Court.
                                                   8
Case 8:21-cv-02429-SDM-TGW Document 142 Filed 03/24/22 Page 9 of 10 PageID 9332




  Government’s favor, particularly given the deference due to the military’s judgment

  about readiness and fitness. Id.

         The movants allege that they have each had an appeal denied, which if

  accurate, means that high-ranking senior military officials determined with reference

  to individual records that the military has a compelling interest in vaccinating these

  particular individuals and that no less restrictive means are available. “[W]hen

  evaluating whether military needs justify a particular restriction on religiously

  motivated conduct, courts must give great deference to the professional judgment of

  military authorities concerning the relative importance of a particular military

  interest.” Goldman v. Weinberger, 475 U.S. 503, 507 (1986); Tr. of Order 36:4–6, Dunn

  v. Austin, No. 22-cv-0028 (E.D. Cal. Feb. 22, 2022), ECF No. 224 (“As courts have

  said over and over again . . . , the Court must give great deference to the professional

  judgment of military authorities concerning the relative importance of a particular

  military interest.”); Order, Short v. Berger, No. 2:22-cv-1151 (C.D. Cal. Mar. 3, 2022),

  ECF No. 25 at 10 (deferring to the military’s “judgment that only vaccination will

  allow Plaintiff to perform his essential duties during the pandemic with an acceptable

  level of risk to the safety and effectiveness of both himself and his unit”).

         Accordingly, Plaintiffs have failed to establish any basis for emergency

  injunctive relief with respect to these individuals as well.




                                               9
Case 8:21-cv-02429-SDM-TGW Document 142 Filed 03/24/22 Page 10 of 10 PageID 9333




                                    CONCLUSION

        For the foregoing reasons, the Court should deny Plaintiffs’ Emergency

  Motion to the extent it is brought on behalf of non-parties, and hold in abeyance the

  motion insofar as it applies to Colonel FMO. The Court should order Plaintiffs’

  counsel to cease filing motions for emergency relief on behalf of non-parties.



  Dated: March 24, 2022                      Respectfully submitted,

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                                            10
